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1    DANIEL J. BRODERICK, Bar# 89424
     Federal Defender
2    BENJAMIN D. GALLOWAY, Bar# 214897
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone (916) 498-5700

5    Attorney for Defendant
     DELMAR LAGRIMAS
6
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,    )
12                                )      Cr.S. 09-206-GEB
                  Plaintiff,      )
13                                )      STIPULATION AND [PROPOSED]
             v.                   )      ORDER
14                                )
     DELMAR LAGRIMAS,             )      DATE: May 21, 2010
15   LEOBARDO OLAZABAL CARRANZA, )       TIME: 9:00 a.m.
                                  )      JUDGE: Hon. Garland E. Burrell Jr.
16                Defendants.     )
                                  )
17   ____________________________
18
        It is hereby stipulated and agreed to between the United States of
19
     America through DANIEL McCONKIE, Assistant U.S. Attorney, and
20
     defendants, DELMAR LAGRIMAS by and through his counsel, BENJAMIN
21
     GALLOWAY, Assistant Federal Defender, and LEOBARDO OLAZABAL CARRANZA by
22
     and through his counsel, GILBERT A. ROQUE, that the status conference
23
     set for Friday, April 2, 2010, be continued to Friday, May 21, 2010, at
24
     9:00 a.m..
25
        This continuance is being requested as the parties are working
26
     toward a resolution of this matter, but need additional time to
27
     complete that process.
28
           Case 2:09-cr-00206-GEB Document 31 Filed 03/31/10 Page 2 of 3


1       It is further stipulated that the time period from the date of this
2    stipulation, April 2, 2010, through and including the date of the new
3    status conference hearing, May 21, 2010, shall be excluded from
4    computation of time within which the trial of this matter must be
5    commenced under the Speedy Trial Act, pursuant to 18 U.S.C. §§ 3161
6    (h)(7)(B)(iv)and Local Code T4 [reasonable time for defense counsel to
7    prepare].
8
9    DATED: March 23, 2010    Respectfully submitted,
10                                  DANIEL J. BRODERICK
                                    Federal Defender
11
                                    /s/ Benjamin Galloway
12                                  BENJAMIN GALLOWAY
                                    Assistant Federal Defender
13                                  Attorney for Defendant
                                    DELMAR LAGRIMAS
14
                                    /s/ Benjamin Galloway for
15                                  GILBERT A. ROQUE
                                    Attorney for Defendant
16                                  LEOBARDO OLAZABAL CARRANZA
17
18
     DATED: March 23, 2010          BENJAMIN B. WAGNER
19                                  United States Attorney
20                                  /s/ Benjamin Galloway for
                                    DANIEL McCONKIE
21                                  Assistant U.S. Attorney
                                    Attorney for Plaintiff
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              Case 2:09-cr-00206-GEB Document 31 Filed 03/31/10 Page 3 of 3


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                                       O R D E R
2
           IT IS SO ORDERED.    Time is excluded from today’s date through and
3
     including May 21, 2010, in the interests of justice pursuant to 18
4
     U.S.C. §3161(h)(7)(B)(iv) [reasonable time to prepare] and Local Code
5
     T4.
6
7    Dated:    March 31, 2010

8
9                                        GARLAND E. BURRELL, JR.
                                         United States District Judge
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